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        AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR SEIZURE WARRANTS

            I, Kostandean Kazamias, being first duly sworn, hereby depose and state as follows:

                                           FUNDS TO BE SEIZED

       1.         I submit this affidavit in support of an application for warrants to seize the following:

            a. Approximately $25,440.56 U.S. Dollar from two different bank accounts Guardian

                  Credit Union Checking and Saving account 1074954, (approximately $8,321.56) and

                  Chase 923563030, (approximately $17,119.00);

            b.     All   fiat   currency   or   crypto-currency     on    deposit   in   Coinbase      account

                  #58bd42016908ae5a772f840e, held in the name of Gregory Kosmatka                       (DOB:

                  XX/XX/1992) with an associated email address of greggbkos@gmail.com, including

                  approximately .2436 LTC, 1.0057 BTC, 10 ETC, 27.6446 BAT, .0059 DAI, 128.9072

                  LINK, .4969 XTZ, 3.9246 USDC, .075 OMG, .1379 COMP, .0101 MKR, 2.7581

                  CGLD, .000006, ALGO, .4481 BAND, 9010 ANKR, .08114 FORTH, 7.5962 NU,

                  3.6387 ETH2, 1009.47 SKL, 5000 DODG, 10043.3654 AMP, .0960 BOND, 2.7108

                  CLV, .1487 BAL, 6.0739 FET, 4.9030 RLY, 10 SNX, 1010 COTI, .0901 AUCTION,

                  4.9999 SOL, .8810 RNDR, (value 40,000-50,000 varying continuously); and

            c.     One 2017 Gray Acura TLX bearing VIN 19UUB1F51HA007017 currently owned by

                  Gregory Kosmatka (value approximately $27,000).

       2.         Based on the facts and circumstances set forth below, I submit that there exists probable

cause to believe that:

            a. the above properties constitute proceeds of trafficking in controlled substances, were
               purchased with proceeds traceable to an exchange of money for controlled substances, or
               were used or intended to be used to facilitate the commission of a controlled substances
               offense, in violation of 21 U.S.C. § 841(a)(1), and therefore are subject to civil forfeiture
               under 21 U.S.C. §§ 881(a)(6) and 881(a)(7), and subject to criminal forfeiture under
               21 U.S.C. § 853(a);

            b. the above fiat currency and cryptocurrency properties are funds involved in, or traceable
               to funds involved in, money laundering offenses, committed in violation of 18 U.S.C.


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                § 1956(a)(1), and therefore are subject to civil forfeiture under 18 U.S.C. §§ 981 (a)(1)(A)
                and 984, and subject to criminal forfeiture under 18 U.S.C. § 982(a)(1); and

            c. the above properties are subject to seizure for purposes of civil forfeiture under 18 U.S.C.
               § 981(b) and 21 U.S.C. § 881(b) and for purposes of criminal forfeiture under 18 U.S.C.
               § 982(b)(1) and 21 U.S.C. § 853(f).

                                 BACKGROUND AND EXPERIENCE

       3.       I am a Special Agent with the Drug Enforcement Administration (DEA), and have

been so employed since March 2020. My duties include the investigation of drug trafficking

organizations and violations of federal narcotics and money laundering laws, including, but not

limited to offenses defined by 21 U.S.C. § 841, 843, and 846, and 18 U.S.C. § 1956. Prior to my

current assignment, I was enlisted in the Air National Guard for approximately six years,

worked for the DEA as a Program Analyst for approximately two years, and worked for a

private insurance company as a Financial Analyst for approximately one year. I am an

investigative or law enforcement officer within the meaning of Section 2510(7) of Title 18, United

States Code; that is, an officer of the United States who is empowered by law to conduct

investigations of, and to make arrests for offenses enumerated in Title 18, United States Code,

Section 2516.

       4.       During my time as a law enforcement agent, I have been involved in the investigation of

drug traffickers in Milwaukee County, in the State of Wisconsin, across the United States, and

internationally. I have received training in the investigation of drug trafficking, and money laundering.

My training and experience includes the following:

                a.     Through informant interviews and extensive debriefings of individuals involved in
                       drug trafficking, I have learned about the manner in which individuals and
                       organizations finance, source, purchase, transport, and distribute controlled
                       substances in Wisconsin, throughout the United States, and internationally.

                b.     I have used my training and experience to locate, identify, and seize multiple types
                       of drugs, drug proceeds, and drug contraband.

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 c.    I have assisted in several investigations that have resulted in seizures of criminally
       derived property, including monetary instruments.

 d.    I know that controlled substances, drug paraphernalia, and drug proceeds are sent
       through the U.S. Postal Service system and other parcel services, such as FedEx
       and UPS, and I am familiar with many of the methods used by individuals who
       attempt to use mail services to illegally distribute controlled substances.

 e.    I have also relied upon informants to obtain controlled substances from drug
       traffickers and have assisted in undercover purchases of controlled substances.

 f.    I am familiar with the language used over the telephone and other electronic
       communications to discuss drug trafficking and know that the language is often
       limited, guarded, and coded. I know the various code names used to describe
       controlled substances. I also know that drug traffickers often use electronic devices
       (such as computers and cellular phones), electronic communication services (such
       as email and messaging applications), and social media to facilitate these crimes.

 g.    I know that drug traffickers often register phones, mailboxes, bank accounts,
       electronic communication services, and other instrumentalities of drug trafficking
       in the names of others, also known as nominees, to evade law enforcement.

 h.    I know that drug traffickers often keep documents and records about the sourcing,
       ordering, sale, transportation, and distribution of controlled substances.

 i.    I know that drug traffickers often use drug proceeds to purchase assets such as
       vehicles, property, and jewelry. I also know that drug traffickers often use nominees
       to purchase or title these assets to avoid scrutiny from law enforcement officials. I
       know that drug traffickers often secure drug proceeds at locations within their
       dominion and control, such as their residences, businesses, and storage facilities,
       and in safes or other secure containers.

 j.    I know that drug traffickers often attempt to protect and conceal drug proceeds
       through money laundering, including but not limited to domestic and international
       banks, securities brokers, service professionals, such as attorneys and accountants,
       casinos, real estate, shell corporations, business fronts, and otherwise legitimate
       businesses which generate large quantities of currency. I know that it is common
       for drug traffickers to obtain, secrete, transfer, conceal, or spend drug proceeds,
       such as currency, financial instruments, precious metals, gemstones, jewelry,
       books, real estate, and vehicles. I know that it is also common for drug traffickers
       to maintain documents and records of these drug proceeds, such as bank records,
       passbooks, money drafts, transaction records, letters of credit, money orders, bank
       drafts, titles, ownership documents, cashier’s checks, bank checks, safe deposit box
       keys, money wrappers, and other documents relating to the purchase of financial
       instruments or the transfer of funds. I know that drug traffickers often purchase or
       title assets in fictitious names, aliases, or the names of relatives, associates, or
       business entities to avoid detection of these assets by government agencies. I know
       that even though these assets are titled or purchased by nominees, the drug
       traffickers actually own, use, and exercise dominion and control over these assets.

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       The aforementioned books, records, receipts, notes, ledgers, and other documents
       are often maintained where the traffickers have ready access. These may be stored
       in hard copy or soft copy on paper, computers, cellular devices, and other electronic
       media or electronic storage devices.

 k.    Digital currency, also known as crypto-currency, is generally defined as an
       electronic-sourced unit of value, which can substitute for fiat currency. Digital
       currency exists entirely on the Internet and is not stored in any physical form.
       Digital currency is not issued by any government, bank, or company and is instead
       generated and controlled through computer software operating on a decentralized
       peer-to-peer network.

 l.    Bitcoin is one type of digital currency. Bitcoin payments are recorded in a public
       ledger maintained by peer-to-peer verification and is, therefore, not maintained by
       a single administrator or entity. Individuals can acquire bitcoins either by “mining”
       or by purchasing Bitcoins from other individuals. An individual can “mine” for
       Bitcoins by allowing his computing power to verify and record the bitcoin
       payments into a public ledger. Individuals are rewarded for this by receiving newly-
       created Bitcoins. An individual can send and receive Bitcoins through peer-to-peer
       digital transactions or by using a third-party broker. Such transactions can be
       performed on any type of computer.

 m.    Bitcoins are stored on digital “wallets.” A digital wallet essentially stores the access
       code that allows an individual to conduct bitcoin transactions on the public ledger.
       To access bitcoins on the public ledger, an individual must use a public address (or
       “public key”) and a private address (or “private key”). The public address is similar
       to an account number while the private key is similar to an account password. Even
       though the public addresses of transactors are recorded on the public ledger, the
       true identities of the individuals or entities behind the public addresses are not
       recorded. If, however, a real individual or entity is linked to a public address, an
       investigator could determine what transactions were conducted by that individual
       or entity. Bitcoin transactions are, therefore, described as “pseudonymous,” or
       partially anonymous.

 n.    A Binance account has multiple “wallets,” sub-accounts, or sub-wallets for holding
       different currency (e.g., U.S. dollars, Bitcoin, Dogecoin, TetherUS, Bitcoin Cash,
       Bitcoin Gold), but all of the sub-wallets are within one account. The funds can be
       readily moved from one currency to another currency within the same account. The
       value of the cryptocurrency relative to the U.S. dollar is constantly changing so the
       exact value is unknown until the funds are transferred out. Many Bitcoin companies
       allow the account holder to control the “key” for each wallet and that “key” is
       needed to transfer or remove funds. However, Binance and or Coinbase controls
       the “key” to each of the wallets on its platform.

 o.    Drug traffickers often use enhanced cryptocurrency, such as Bitcoin, to protect their
       identities, launder money, and conceal drug proceeds, because of the anonymity
       provided by cryptocurrency. Bitcoin is a decentralized digital currency without a
       central bank or single administrator. Payments are sent from user-to-user on the

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       peer-to-peer bitcoin network without the need for intermediaries. These services
       add layers of anonymity to financial transactions to evade law enforcement.

 p.    I know that drug traffickers often maintain large amounts of currency, including
       funds in readily accessible financial accounts, to finance their ongoing drug
       business. I know that those involved in drug trafficking or money laundering often
       keep records of their transactions. Because drug trafficking generates large sums of
       cash, drug traffickers often keep detailed records about the distribution of narcotics
       and the laundering of proceeds. I also know that drug trafficking and money
       laundering activities require the cooperation, association, and communication
       between and among a number of people. As a result, people who traffic in narcotics
       or launder money for such organizations possess documents that identify other
       members of their organization, such as telephone books, address books,
       handwritten notations, telephone bills, and documents containing lists of names and
       addresses of criminal associates. Such records also provide information about the
       identities of co-conspirators who launder money and traffick drugs. I also know
       that drug traffickers commonly maintain addresses or telephone numbers which
       reflect names, addresses, or telephone numbers of their drug trafficking and money
       laundering associates in hard copy and soft copy on papers, books, computers,
       cellular devices, and other electronic media or electronic storage devices.

 q.    I know that drug traffickers often use electronic devices, such as telephones,
       cellular devices, computers, and currency counting machines to generate, transfer,
       count, record, or store the information described above and conduct drug trafficking
       and money laundering. I am familiar with computers, cellular devices, pagers, and
       other electronic media or electronic storage devices and their uses by drug
       traffickers to communicate with suppliers, customers, co-conspirators, and fellow
       traffickers. These devices often contain evidence of illegal activities in the form of
       communication records, voicemail, email, text messages, video and audio clips,
       location information, business records, and transaction records. I know drug
       traffickers take, store, preserve, or maintain photographs or videos of themselves,
       their associates, their property, their drugs, and their drug proceeds. These
       traffickers usually maintain these photographs or videos on computers, cellular
       devices, and other electronic media or electronic storage devices. Based upon my
       training and experience, I know that computer hardware and software can be
       important to a criminal investigation in two distinct and important respects: (1) the
       objects themselves may be instrumentalities, fruits, or evidence of crime; and
       (2) the objects may have been used to collect and store information about crimes. I
       know the following information can be retrieved to show evidence of use of a
       computer or smartphone to further the drug trade: system components, input
       devices, output devices, data storage devices, data transmission devices, and
       network devices and any data contained within such systems; computer media and
       any data contained within such media; operating system software, application or
       access program disks, manuals, books, brochures, or notes, computer access codes,
       user names, log files, configuration files, passwords, screen names, email
       addresses, IP addresses, and SIM cards.

 r.    I have participated in numerous drug trafficking investigations involving the
       seizure of computers, cellular phones, cameras, and other digital storage devices,
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                       and the subsequent analysis of electronic data stored within these devices. This has
                       led to evidence of the crimes under investigation and corroborated information
                       already known or suspected by law enforcement. I have regularly used electronic
                       evidence to find proof relating to the commission of criminal offenses, including
                       intent, motive, manner, means, and the identity of suspects and conspirators;

               s.      I have also participated in the execution of numerous premises search warrants and
                       arrests, where controlled substances, firearms, drug paraphernalia, drug proceeds,
                       electronic devices, and records relating drug trafficking and drug proceeds were
                       seized.

       5.      This affidavit is based upon my personal knowledge and upon information reported to me

by other federal, state, and local law enforcement officers during the course of their official duties, all of

whom I believe to be truthful and reliable. Throughout this affidavit, I refer to case agents. Case agents

are those federal, state, and local law enforcement officers who have directly participated in this

investigation, and with whom I have had regular contact regarding this investigation.

       6.      This affidavit is intended to show simply that there is sufficient probable cause for the

requested warrants and does not set forth all of my knowledge about this matter.

                                           PROBABLE CAUSE

       7.      This affiant knows that on May 6th 2022, multiple state search warrants were executed on

1022A E Potter Ave and 9075 W Sura Ln, regarding Gregory Kosmatka (X-XX-1992). The search

warrants were signed by Honorable Barry Phillips. During the search warrants Case Agents did arrest

Kosamtka at 9075 W Sura Ln. Kosmatka did provide officers with a key to enter 1022A E Potter Ave,

Kosmatka also provided consent for officers to enter a storage locker located at 1500 South 1st street.

Officer located approximately 75,000 in US Currency, a computer, cell phones and identifiers at 9075

West Sura Lane. Officers located approximately 51 pounds of THC products to include but not limited

plant, wax, vape cartridges and edibles along with tax documents Crypto logs and identifiers at 1022A E

Potter Ave. At the storage locker officers located approximately 30,000 in US Currency and vape parts.

       8.      This affiant knows that a Mirandized statement was conducted with Kosmatka. This

interview took place at West Allis police station. During this interview Kosmatka stated the following that

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he lives at 9075 West Sura Lane Apt 319. He lives there by himself. He has another residence at 1022A

East Potter Avenue, which he used as an office. He currently owns a 2017 Gray Acura TLX VIN

19UUB1F51HA007017 which he paid off last year. He stated that he recently resupplied on product and

purchased more then what he would normally have because the the price was good. He stated he currently

had edibles, wax, plant, and cartridges (all THC products). When asked how much, he indicated that he

just picked up $10,000 worth of vape cartridges $10,000 worth of plant and a couple thousand worth of

edibles. He stated that when he is selling the products that he mostly drives the product in his 2017 Gray

Acura TLX VIN 19UUB1F51HA007017 to the different locations. He described himself as a delivery

serve for THC products.

          9.     Affiant knows that Kosmatka further stated he has been selling since around 2018 and did

smaller sales before 2018 while in college. He stated he makes good money selling and that he estimated

clearing $5,000 to $10,000 a month from selling. He stated that he also buys and trades a lot of

Cryptocurrency. Kosmatka stated that he does have a job with his father’s Health insurance (Platinum One

Health) company which his father pays him $600.00 a week for in cashiers checks. When asked about his

last employment history where he would have a Paycheck or file a W2 tax form; He stated the last real

job he had was probably in 2014 or 2015 at a restaurant. He then stated that he gets about $30,000.00 a

year from his father who owns a health care and life insurance company. He then stated that he does not

currently have a health care license like his father so he helps out and works from home and or in the

office.

          10.    Affiant knows that there was a paper with monthly bills located in the Potter residence.

This paper itemized rent and bills for both addresses’ Potter rent 1002.00 Sura rent 1300.27. The total bill

for the two places with his other itemized bills such as storage, utilities, and cellphone came out to be

approximately $2842.00 a month.

          11.    Case agents believe the funds in the accounts from Guardian Credit Union, Chase and


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in the cryptocurrency are drug proceeds and are being used to launder funds. Case agents further believe

the funds used to pay for the 2017 Gray Acura TLX VIN 19UUB1F51HA007017 were drug proceeds

and that the 2017 Gray Acura TLX VIN 19UUB1F51HA007017 was used to transport controlled

substances for distribution.    Case agents know that the amounts of cryptocurrency, the quantity of

transactions, and the attempted concealing of source of funds are all consistent with drug proceeds and

money laundering. Furthermore, affiant know the $600 per week from Komastka will average out to

$2,400.00 a month and that the month bills labeled on the sheet in the Potter residence revealed $2,842.00,

this does not include any type of vehicle payment. This shows the funding for the rest of the bills would

have to come from other sources.

       12.     Affiant knows that a subpoena and request to freeze was served to Chase, Guardian and

Coinbase for all accounts regarding Gregory Kosmatka. As these accounts were identified suspected drug

proceeds which transferred multiple times to the cryptocurrency. The Financial institutions which were

listed on the Coinbase account are the same Chase and Guardian account number listed above.

       13.     Sophisticated drug traffickers and money launderers prefer to use private crypto-currency

wallets, which are controlled and stored on personal devices such as a laptop computer, cellular telephone,

or thumb drive. This is preferred for the security of these funds since the funds are physically stored in the

device (private wallet). Eventually, the funds need to reach a crypto-currency exchange which is similar

to a “bank for crypto-currency.” This is required by the drug trafficker/money launderer because the

crypto-currency exchange is linked to a bank account, and this is how the funds are commonly exchanged

from crypto-currency to fiat currency. Although crypto-currency can often be traced by law enforcement

through private wallets and crypto-currency exchanges, law enforcement cannot locate or seize a private

wallet stored on a personal device, unless that personal device is in the physical possession of law

enforcement. As a result, criminal proceeds in the form of crypto-currency are regularly transferred

between private wallets and crypto-currency exchanges to disguise the funds, and it is often times as the


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funds funnel through the crypto-currency exchange that law enforcement can seize the funds with the

cooperation of the crypto-currency exchange “bank for cryptocurrency.”

       14.        Case agents believe that the 2017 Gray Acura TLX VIN 19UUB1F51HA007017                    is

worth $27,000.00. The estimated value of the, Coinbase account believed to be approximately $40,000

to $50,000, Chase account $17,119.00 and Guardian $8,321.56. All values are estimated and are

currently waiting on subpoena returns. For these reasons, and for the fact that drug proceeds are co-

mingled, being exchanged with other crypto-currency, and this account is being used to further the drug

trafficking, case agents request warrants to seize the following:

             a. Approximately $25,440.56 U.S. Dollar from two different bank accounts Guardian

                  Credit Union Checking and Saving account 1074954, (approximately $8,321.56) and

                  Chase 923563030, (approximately $17,119.00);

             b.   All   fiat   currency    or   crypto-currency     on   deposit   in   Coinbase     account

                  #58bd42016908ae5a772f840e, held in the name of Gregory Kosmatka                     (DOB:

                  XX/XX/1992) with an associated email address of greggbkos@gmail.com, including

                  approximately .2436 LTC, 1.0057 BTC, 10 ETC, 27.6446 BAT, .0059 DAI, 128.9072

                  LINK, .4969 XTZ, 3.9246 USDC, .075 OMG, .1379 COMP, .0101 MKR, 2.7581

                  CGLD, .000006, ALGO, .4481 BAND, 9010 ANKR, .08114 FORTH, 7.5962 NU,

                  3.6387 ETH2, 1009.47 SKL, 5000 DODG, 10043.3654 AMP, .0960 BOND, 2.7108

                  CLV, .1487 BAL, 6.0739 FET, 4.9030 RLY, 10 SNX, 1010 COTI, .0901 AUCTION,

                  4.9999 SOL, .8810 RNDR, (value 40,000-50,000 varying continuously); and

             c.   One 2017 Gray Acura TLX bearing VIN 19UUB1F51HA007017 currently owned by

                  Gregory Kosmatka (value approximately $27,000).

                                                CONCLUSION

       15.        Based on the facts and circumstances set forth in this affidavit, I submit that there exists

probable cause to believe that:
                                                       9

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          a. the below properties constitute proceeds of trafficking in controlled substances, were
             purchased with proceeds traceable to an exchange of money for controlled substances, or
             were used or intended to be used to facilitate the commission of a controlled substances
             offense, in violation of 21 U.S.C. § 841(a)(1), and therefore are subject to civil forfeiture
             under 21 U.S.C. §§ 881(a)(6) and 881(a)(7), and subject to criminal forfeiture under
             21 U.S.C. § 853(a);

          b. the below fiat currency and cryptocurrency properties are funds involved in, or traceable
             to funds involved in, money laundering offenses, committed in violation of 18 U.S.C.
             § 1956(a)(1), and therefore are subject to civil forfeiture under 18 U.S.C. §§ 981 (a)(1)(A)
             and 984, and subject to criminal forfeiture under 18 U.S.C. § 982(a)(1); and

          c. the below properties are subject to seizure for purposes of civil forfeiture under 18 U.S.C.
             § 981(b) and 21 U.S.C. § 881(b) and for purposes of criminal forfeiture under 18 U.S.C.
             § 982(b)(1) and 21 U.S.C. § 853(f).

x   Approximately $25,440.56 U.S. Dollar from two different bank accounts Guardian Credit Union

    Checking and Saving account 1074954, (approximately $8,321.56) and Chase 923563030,

    (approximately $17,119.00);

x   All      fiat   currency     or    crypto-currency     on     deposit    in    Coinbase      account

    #58bd42016908ae5a772f840e, held in the name of Gregory Kosmatka (DOB: XX/XX/1992)

    with an associated email address of greggbkos@gmail.com, including approximately .2436

    LTC, 1.0057 BTC, 10 ETC, 27.6446 BAT, .0059 DAI, 128.9072 LINK, .4969 XTZ, 3.9246

    USDC, .075 OMG, .1379 COMP, .0101 MKR, 2.7581 CGLD, .000006, ALGO, .4481 BAND,

    9010 ANKR, .08114 FORTH, 7.5962 NU, 3.6387 ETH2, 1009.47 SKL, 5000 DODG,

    10043.3654 AMP, .0960 BOND, 2.7108 CLV, .1487 BAL, 6.0739 FET, 4.9030 RLY, 10 SNX,

    1010 COTI, .0901 AUCTION, 4.9999 SOL, .8810 RNDR, (value 40,000-50,000 varying

    continuously); and

x   One 2017 Gray Acura TLX bearing VIN 19UUB1F51HA007017 currently owned by Gregory

    Kosmatka (value approximately $27,000).




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